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                                                                          t":,   ..



                  IN THE UNITED STATES DISTRICT



                        FOR THE DISTRICT OF WYOMINGp...


SHANE AILPORT,JILL AILPORT,
AND AILPORT HOLDINGS,LLC,

              Plaintiffs,

        vs.                                               Case No. 21-CV-170

DUSTIN AILPORT, LEXIE AILPORT,
WATER WAY SOLUTIONS,LLC,
JAMES PADDISON, ARIC
HOLLOWAY,JR., DUSTIN NEAL,
LEVI BUTCHER,JORDAN
GREGERSON,GREAT WESTERN
PETROLEUM,LLC, GREAT
WESTERN OPERATING COMPANY,
LLC,AND GARY SHINABARKER,

               Defendants.




                                      JUDGMENT




      This matter comes before the Court following the Order Granting Defendants'

Motion to Dismiss in Part and Remanding Remaining Claims to State Court.(ECF No.

46.) On November 5, 2021, the Court dismissed Count IX, the Civil RICO claim. After

dismissing this claim, there was no longer federal question jurisdiction and this Court

declined to exercise supplemental jurisdiction over Counts I through VIIL This Court

remanded these remaining claims to the Seventh Judicial District, Natrona County, State
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of Wyoming. With no more issues, claims, or parties, this Court enters final judgment. It

is


      ORDERED that:(i) Count IX, the Civil RICO claim, is dismissed;(ii) Counts I

through VIII are remanded to the Seventh Judicial District, Natrona County, State of

Wyoming; and (iii) final Judgment is entered.



      Dated this    0 day of November, 2021.




                                          _aZ
                                  -Sc^ W. Skavdahl
                                  United States District Judge
